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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


AMY CHILDERS, BARRY EARLS,                        Case No. 20 CV 107
THOMAS FETSCH, CODY ITALIA,
DAVID KIEL, NAZAR MANSOOR,
DEBBIE RIDER, TRENT SHORES,
STEVE SCHUSSLER, CASSIE LIETAERT,
RYAN INGALLS, CHRIS JESSIE and
KAREN FLECKENSTEIN, individually
and, on behalf of a class of similarly situated   Hon. James D. Peterson
individuals,

               Plaintiffs,

                       v.

MENARD, INC., a Delaware [sic] corporation,
and JOHN DOES 1-10,

               Defendants.


                   MEMORANDUM OF LAW IN SUPPORT OF
               MENARD, INC.’S PETITION TO COMPEL ARBITRATION

       When plaintiffs Amy Childers, Cody Italia, Nazar Mansoor, Debbie Rider, Ryan Ingalls

and Karen Fleckenstein obtained, completed and mailed in rebate forms to Menard, Inc.1

(“Menards”), each of them agreed that all disputes between them and Menards arising out of or

relating to Menards’ rebate program would be subject to binding arbitration. Despite that

agreement, which is disclosed in the very rebate form appearing in the Complaint, these

“Arbitration Plaintiffs” have filed this lawsuit asserting various claims against Menards arising

out of those programs. These plaintiffs should be compelled to arbitrate their claims against

Menards, and the Court should stay this lawsuit with respect to them.



1The Complaint erroneously alleges that Menard, Inc. is a Delaware corporation.    (Compl. ¶ 25.)
Menard, Inc. is a Wisconsin corporation.
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                                         BACKGROUND

       The facts supporting this petition are basic and, for the most part, come straight from

plaintiffs’ own allegations.

       A.      Plaintiffs’ Claims

       As the complaint establishes, plaintiffs’ claims involve Menards’ mail-in rebate

programs. (Compl. ¶¶ 30-54.) While there are a number of rebate promotions Menards holds,

plaintiffs all allege that they participated in the 11% rebate program and plaintiffs detail the

general rebate process in the complaint:

           First, the customer purchases products subject to a rebate and receives a “rebate
            receipt” from the cashier along with his or her purchase receipt. (Id. at ¶ 39.)

           Second, the customer obtains the appropriate rebate form (which plaintiffs call a
            “redemption ticket”) corresponding to the rebate. (Id. at ¶ 40.)

           Third, the customer fills out the rebate form and mails it and the rebate receipt to
            Rebates International in Wisconsin. (Id. at ¶¶ 41-42.)

           Fourth, the customer receives the rebate by mail, which is in the form of a
            merchandise credit to be used to purchase products from Menards. (Id. at ¶ 45.)

       Plaintiffs allege that they “purchased Menards’ items to which the rebate applied, timely

submitted paperwork for the advertised rebate, but never received the rebate at all of in the

appropriate amount.” (Id. at p. 1-2.) Plaintiffs allege that by filling in and submitting the rebate

forms, they entered into “specific agreements with Menards” that Menards breached by not

sending rebates. (Id. at ¶ 182.)

       Based on these and other allegations, plaintiffs assert claims against Menards for (i)

breach of contract (Count I); (ii) breach of the implied covenant of good faith and fair dealing

(Count II), (iii) unjust enrichment (Count III); and (iv) violations of the consumer protection

statutes of their respective states (Counts IV-IX).




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       B.      The Arbitration Agreement

       The Menards rebate form that the Arbitration Plaintiffs completed contained an

agreement to resolve any claims relating to a purchaser’s rebate through binding arbitration.2

Specifically, the form provides as follows:

       Menards will not sell or distribute any of your information to any other
       organizations. All of your information is strictly used for Menards purposes. By
       submitting the rebate form, you agree to resolve any disputes related to rebate
       redemption by binding arbitration and you waive any right to file or participate in
       a class action. Terms and conditions available at www.rebateinternational.com.

(Id.) A copy of the rebate form with the arbitration agreement is set forth in paragraph 41 of the

Complaint. (Compl. ¶ 41.)

       In addition, the Terms and Conditions at www.rebateinternational.com provide as

follows:

       Purchaser AGREES that ANY and ALL controversies or claims arising out of or
       relating to Menards® Rebate Program(s), or the breach thereof, MUST be
       submitted to binding arbitration administered by the American Arbitration
       Association (AAA) under its applicable Consumer or Commercial Arbitration
       Rules. Purchaser and Menards® AGREE that all claims may only be brought in
       Purchaser or Menards® individual capacity and not as a plaintiff or class member
       in any purported class or representative proceeding. Unless Purchaser and
       Menards® agree otherwise, the arbitrator may not consolidate more than one
       purchaser's claim, and may not otherwise preside over any form of a
       representative or class proceeding. The Arbitrator appointed by the AAA will
       have the exclusive authority to resolve any challenge or dispute relating to the
       interpretation, applicability, enforceability, or formation of the Purchaser and
       Menards® arbitration agreement. All claims MUST be brought within ONE
       YEAR of the purchase date. Menards® is engaged in interstate commerce and this
       arbitration provision is subject to the Federal Arbitration Act, 9 U.S.C. Sections 1-
       14 as amended from time to time.

       The remedy for any claim is limited to actual damages, and in no event will
       any party be entitled to recover punitive, exemplary, consequential or

2 Beginning December 3, 2017, Menards rebate forms included an agreement to arbitrate all disputes.
(Every Decl. ¶ 8.) The Arbitration Plaintiffs each allege that they entered into agreements with Menards
to obtain rebate redemptions after this date. The remaining plaintiffs – Earl, Fetsch, Kiel, Shores,
Schussler, Lietaert and Jesse – allege that they entered into agreements with Menards to obtain rebates
prior to December 3, 2017. Menards is not moving to compel arbitration with respect to these plaintiffs.


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       incidental damages or have damages multiplied or otherwise increased,
       including attorneys' fees or other such related costs of bringing a claim, or to
       rescind this agreement or seek injunctive or any other equitable relief.

www.rebateinternational.com/RebateInternational/termsAndConditions.do               (emphasis       in

original). These terms and conditions have been available on the website since December 20,

2017. (Every Decl. ¶ 9.)

       C.      The Arbitration Plaintiffs’ Agreements to Arbitrate

       Although they have not attached copies of relevant documents to their complaint, each of

the Arbitration Plaintiffs alleges that he or she (i) purchased products during an 11% rebate

promotion after December 3, 2017, (ii) obtained the Menards rebate form, and (iii) completed the

form as instructed and mailed it to Menards. (Compl. ¶¶ 60-63, 96-99, 121-24, 130-34, 150-53,

158-61.)

       Childers alleges that she is a Wisconsin resident and that she purchased $1,327.56 in

products via Menards’ website in or about October 2018 during an 11% off everything rebate

promotion. (Id. at ¶¶ 158-59.) Childers alleges that she downloaded the rebate form, mailed it

along with the receipt within one week and checked on the status of her rebate by accessing the

Rebates International rebate tracker available at www.rebateinternational.com. (Id. at ¶¶ 160-

61.) Childers alleges that she did not find her rebate processed in the system, and that Rebates

International later sent an email telling her that the items she purchased were already on sale and

did not qualify for a rebate. (Id. at ¶¶ 163-64.)

       Italia alleges that he is a Missouri resident and that he purchased $21.99 in products from

a Menards store in Missouri on or about February 2, 2019 during a Menards 11% off everything

rebate promotion. (Id. at ¶¶ 130-32.) Italia alleges that he mailed the rebate form the same day,

and that he also later checked on the status of his rebate on-line, but did not see it. (Id. at ¶¶ 133-




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34.) Italia alleges that he called Menards but did not receive an explanation or rebate. (Id. at

¶¶ 135-36.)

        Mansoor, a Michigan resident, is similar. He alleges that he purchased $380.00 in

products from a Menards store in Michigan between May and June 2018 during Menards 11%

off everything rebate promotions. (Id. at ¶¶ 121-22.) Mansoor alleges that within two or three

days of his purchases he mailed rebate forms to Menards and that he inquired about his rebate at

the Menards store on several occasions. (Id. at ¶¶ 123-24.) Mansoor alleges that he also

contacted Rebates International in late 2018, but that he received no response and has not

received a rebate check. (Id. at ¶¶ 124-27.)

        Rider alleges that she is an Illinois resident who purchased $878.77 in products from a

Menards store in Illinois in or about March 2018, during a Menards 11% off everything rebate

promotion. (Id. at ¶¶ 60-62.) Rider alleges that she mailed the rebate form and receipts to

Menards shortly thereafter, and also checked on the status of her rebate on-line. (Id. at ¶¶ 63-

64.) Rider alleges that she did not see a rebate on the system, and that she called Rebates

International and was told that they did receive the rebate form or the receipts. (Id. at ¶¶ 64-65.)

Rider alleges that she has not received the rebate. (Id. at ¶ 65.)

        Ingalls alleges that he is a Michigan resident who purchased $177.41 in products from a

Menards store in Michigan in or about January 2019 during a Menards 11% off everything

rebate promotion. (Id. at ¶¶ 96-97.) Ingalls alleges that he mailed the rebate form to Menards

within one week of his purchases, and that he checked on the status of his rebate on-line, but did

not see a rebate for that purchase. (Id. at ¶¶ 99-101.) Ingalls alleges that he has not received the

rebate. (Id. at ¶ 104.)

        Finally, Fleckenstein alleges that she is an Ohio resident and that she purchased $33.47 in

products from a Menards store in Ohio in or about July 2019 during a Menards 11% off


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everything rebate promotion. (Id. at ¶¶ 150-51.) Fleckenstein alleges that she mailed the rebate

to Menards within one week. (Id. at ¶ 153.) Fleckenstein alleges that she checked on the status

of her rebate on-line, but did not see a rebate. (Id. at ¶ 154.) Fleckenstein alleges that she has

not received the rebate. (Id. at ¶ 155.)

       Despite their agreements to arbitrate, on February 6, 2020, the Arbitration Plaintiffs,

along with plaintiffs Earl, Fetsch, Kiel, Shores, Schussler, Lietaert and Jesse filed this action

against Menards (and John Does 1-10).

                                           ARGUMENT

       Under Section 2 of the Federal Arbitration Act, 9 U.S.C. § 1, et seq., written agreements

to arbitrate in contracts involving commerce are “valid, irrevocable, and enforceable, save upon

such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. As

the Supreme Court has held, this provision “reflect[s] both a liberal policy favoring arbitration[]

and the fundamental principle that arbitration is a matter of contract.” AT&T Mobility LLC. v.

Concepcion, 563 U.S. 333, 339 (2011) (citations omitted). Following these principles, “courts

must place arbitration agreements on an equal footing with other contracts[] and enforce them

according to their terms.” Id.

I.     THE ARBITRATION PLAINTIFFS SHOULD BE                                 COMPELLED          TO
       ARBITRATE THEIR CLAIMS AGAINST MENARDS

       As explained above, each of the Arbitration Plaintiffs has a written agreement with

Menards to arbitrate all claims arising out of or relating to Menards’ rebate programs. Those

plaintiffs, however, have refused to comply by instead filing claims in this action against

Menards based on their alleged rebates. Section 4 of the FAA provides that:

       A party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate
       under a written agreement for arbitration may petition any United States district
       court which, save for such agreement, would have jurisdiction under title 28, in a
       civil action or in admiralty of the subject matter of a suit arising out of the


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       controversy between the parties, for an order directing that such arbitration
       proceed in the manner provided for in such agreement.

9 U.S. C. § 4. The Section further provides that:

       The court shall hear the parties, and upon being satisfied that the making of the
       agreement for arbitration or the failure to comply therewith is not in issue, the
       court shall make an order directing the parties to proceed to arbitration in
       accordance with the terms of the agreement.

Id.

       Pursuant to Section 4, this Court should compel the Arbitration Plaintiffs to arbitrate their

claims against Menards. “By its terms, the [FAA] leaves no place for the exercise of discretion

by a district court, but instead mandates that district courts shall direct the parties to proceed to

arbitration on issues as to which an arbitration agreement has been signed.” Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original). Plaintiffs themselves

allege the facts establishing the making of their agreements for arbitration, and this lawsuit is

evidence that plaintiffs have failed to comply with those agreements. Accordingly, and order to

compel arbitration is warranted.

II.    THIS LAWSUIT SHOULD BE STAYED AS TO THE ARBITRATION
       PLAINTIFFS

       Section 3 of the FAA provides that:

       If any suit or proceeding be brought in any of the courts of the United States upon
       any issue referable to arbitration under an agreement in writing for such
       arbitration, the court in which such suit is pending, upon being satisfied that the
       issue involved in such suit or proceeding is referable to arbitration under such an
       agreement, shall on application of one of the parties stay the trial of the action
       until such arbitration has been had in accordance with the terms of the agreement,
       providing the applicant for the stay is not in default in proceeding with such
       arbitration.

9 U.S. C. § 3. Applying this provision, the Court should stay all proceedings in this lawsuit

involving the Arbitration Plaintiffs.




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        As both the Supreme Court and Seventh Circuit have held, Section 3’s stay provision is

mandatory. See Volkswagen Of America, Inc. v. Sud’s Of Peoria, Inc., 474 F.3d 966, 971 (7th

Cir. 2007) (“For arbitrable issues, a § 3 stay is mandatory.”) citing Shearson/American Exp., Inc.

v. McMahon, 482 U.S. 220 (1987). Although the Arbitration Plaintiffs assert various claims

against Menards, their allegations establish that all of those claims are based on or arise out of

Menards’ rebate programs. (Id. at ¶¶ 182, 188-89, 193, 203, 218, 233, 247, 261, 272.) Absent a

ruling by an arbitrator that any of the Arbitration Plaintiffs’ claims are not arbitrable – which is

an issue for an arbitrator to decide3 – the Court should stay all proceedings in this lawsuit

involving the Arbitration Plaintiffs.




3 Under both the AAA Consumer and Commercial rules, the arbitrators have the power to rule on their
own jurisdiction, including “any objections to the existence, scope, or validity of the arbitration
agreement or to the arbitrability of any claim of counterclaim.” See AAA Consumer Arbitration Rules,
R-14 (available at https://adr.org/sites/default/files/Consumer_Rules_Web_0.pdf); AAA Commercial
Arbitration         Rules         and     Mediation          Procedures,          R-7        (available      at
https://adr.org/sites/default/files/Commercial%20Rules.pdf). Thus, the question of the arbitrability of any
particular issue or claim raised by the Arbitration Plaintiffs is for the arbitrator to decide. Henry Schein v.
Archer and White Sales, Inc., --- U.S. ---, 139 S.Ct. 524, 531 (2019) (“When the parties’ contract
delegates the arbitrability question to an arbitrator, the courts must respect the parties’ decision as
embodied in the contract.”).


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                                         CONCLUSION

       For all of the foregoing reasons, Menards’ petition to compel arbitration should be

granted. The Court should compel the Arbitration Plaintiffs to arbitrate their claims against

Menards and should stay all proceedings in this lawsuit relating to the Arbitration Plaintiffs.


Dated: April 13, 2020                                 Respectfully submitted,

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